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      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY

                                                    Civil Action No. ______
 JANICE MCCARTHY,
                             Plaintiff,                 NOTICE OF REMOVAL OF ALL
                                                               DEFENDANTS
 v.
                                                    Removed from the Superior Court of New
 MUSCLEPHARM CORPORATION, RYAN                      Jersey, Bergen County, Law Division
 DREXLER AND SABINA RIZVI,
                    Defendants.


TO:    United States District Court - District of New Jersey
       Martin Luther King Building & U.S. Courthouse
       50 Walnut Street
       Newark, New Jersey 07101

With Notice to:

       Clerk of the Superior Court of New Jersey
       Bergen County Courthouse
       10 Main Street
       Hackensack, New Jersey 07601

       Jonathan Nirenberg, Esq.
       Rabner Baumgart Ben-Asher & Nirenberg, P.C.
       52 Upper Montclair Plaza
       Montclair, NJ 07043
       Attorneys for Plaintiff

       PLEASE TAKE NOTICE THAT on June 2, 2022, based on the following allegations,

Defendants MusclePharm Corporation (“MusclePharm”), Alex Drexler and Sabina Rizvi

(collectively “Defendants”), did and hereby do remove this action from the Superior Court of

New Jersey, Bergen County, Docket No. BER-L-002246-22, to the United States District Court

for the District of New Jersey pursuant to 28 U.S.C. §§ 1332, 1441 and 1446 with full

reservation of any and all defenses and objections.

       1.      On or about April 21, 2022, Plaintiff Janice McCarthy (“Plaintiff”) filed a civil




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action against Defendants in the Superior Court of New Jersey, Bergen County, captioned Janice

McCarthy v. MusclePharm Corporation, Alex Drexler and Sabina Rizvi, which was assigned

Docket No. BER-L-002246-22 (the “State Court Action”). A true and correct copy of the

Summons and Complaint in the State Court Action is attached hereto as Exhibit A.

       2.      Rizvi has not received nor been properly served with the Summons and Complaint

in the State Court Action. A true copy of Plaintiff’s defective affidavit of service to Rizvi is

attached hereto as Exhibit B.

       3.      Drexler has not received nor been served with a true and correct copy of the

Complaint in the State Action to date.

       4.      Removal is timely pursuant to 28 U.S.C. § 1446(b) because this Notice is filed

within thirty (30) days after service of the Summons and Complaint upon Rizvi and Drexler --

service that has not yet occurred -- and Defendant MusclePharm consents to same.

       5.      Written notice of the filing of this Notice of Removal will be served upon

Plaintiff’s counsel as required by 28 U.S.C. § 1446(d).

       6.      A copy of this Notice of Removal is being served upon counsel for Plaintiff and is

being filed contemporaneously with the Clerk of the Superior Court of New Jersey, Bergen

County, as required by 28 U.S.C. 1446(d).

       7.      Venue is proper under 28 U.S.C. § 1441(a) because the Superior Court of New

Jersey, Bergen County is located within the district of the United States District Court for the

District of New Jersey.

       8.      As is set forth in detail below, the Court has jurisdiction pursuant to 28 U.S.C. §

1332 because the true parties are completely diverse and the amount in controversy exceeds

$75,000, exclusive of interest and costs.




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                                DIVERSITY OF CITIZENSHIP

       9.      Plaintiff is a resident of New Jersey. (See Complaint, ¶1).

       10.     Defendant MusclePharm is a Nevada corporation with a headquarters in Las

Vegas, NV.

       11.     Defendant Drexler is a resident of Nevada. (See Complaint, ¶3).

       12.     Defendant Rizvi is a resident of Texas. (See Complaint, ¶4). Accordingly,

complete diversity of citizenship existed between the parties at the time Plaintiff’s Complaint

was filed, and complete diversity of citizenship exists at the time of removal.

                                AMOUNT IN CONTROVERSY

       13.     In this action, Plaintiff seeks to recover compensation from Defendants arising

from damages allegedly sustained by: (1) MusclePharm’s violation of the Conscientious

Employment Act; and, (2) Defendants’ fraud in the inducement of her employment with

MusclePharm. (See Complaint, ¶¶75-84).

       14.     Plaintiff’s Complaint does not specifically allege the monetary damages that

Plaintiff has suffered with respect to Defendants’ alleged conduct.

       15.     Plaintiff though alleges fraud in the inducement against Defendants and alleges

that in reliance on Defendants’ representations, promises and assurances, Plaintiff resigned her

position with her prior employer and accepted Defendants’ job offer. (See Complaint, ¶11).

       16.     By accepting Defendants’ job offer, Plaintiff alleges that she suffered damages of

at least $94,500 by foregoing a $64,500 annual bonus from her prior employer and a $30,000

retention bonus from her prior employer. (See Complaint, ¶¶11-12).

       17.     In total, Plaintiff seeks back and front pay, emotional distress damages, and

punitive damages for her claims of fraud in the inducement and violation of the New Jersey




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Conscientious Employee Protection Act.

       18.      Plaintiffs seek damages far above $75,000 related to Defendants’ alleged

conduct.

       19.     Additionally, Plaintiff’s counsel made pre-litigation demand in which Plaintiff

estimated her total damages claim at well in excess of $75,000.

       20.     While Defendants dispute Plaintiff's entitlement to recover any of the amounts

that are or may be sought in this action, in light of the foregoing, upon information and belief,

the amount in controversy in this matter exceeds $75,000.

       WHEREFORE, Defendants respectfully request that the State Court Action be removed

from the Superior Court of New Jersey, Bergen County to the United States District Court for the

District of New Jersey.

                                                                     Respectfully submitted,
                                                                     SPIRO HARRISON
                                                                     By: /s/ Thomas M. Kenny
                                                                     David B. Harrison, Esq.
Dated: Montclair, New Jersey                                         Thomas M. Kenny, Esq.
       June 2, 2022                                                  Attorneys for Defendants




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       EXHIBIT A
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         EXHIBIT B
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Fax: (973) 783-1524
JNirenberg@njemploymentlawfirm.com
Attorneys for Plaintiff



  JANICE MCCARTHY,                                       SUPERIOR COURT OF NEW JERSEY

             Plaintiff,                                            BERGEN COUNTY
                                                                    LAW DIVISION
             v.
                                                     DOCKET NO. BER-L-002246-22
  MUSCLEPHARM CORPORATION, RYAN
  DREXLER AND SABINA RIZVI,                                              Civil Action

                                                                CERTIFICATION OF
             Defendants.                                      JONATHAN I. NIRENBERG




        I, Jonathan I. Nirenberg, of full age, hereby certify and say:

        1.        I am a shareholder of Rabner Baumgart Ben-Asher & Nirenberg, P.C., attorneys

for Plaintiff Janice McCarthy in the above-captioned action. I submit this Certification as proof

of service of the Summons and Complaint upon Defendant Sabina Rizvi pursuant to R. 4:4-7.

        2.        We attempted to have Defendant Sabina Rizvi personally served with the

Summons and Complaint in this action, but our process server was unable to personally serve

her. A copy of the Affidavit of Non-Service, which indicates that the process server could not

reach Ms. Rizvi’s home because she lives in a gated community, is attached as Exhibit A.

        3.        Pursuant to R. 4:4-7, on or about April 27, 2022, we sent two copies of the

Summons and Complaint to Ms. Rizvi, one by certified mail, return receipt requested, and the

other by regular mail. According to Postal Service records, the certified letter was out for

delivery on April 30, 2022, but to date no delivery scan has been provided. We have not
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received a return receipt or other proof that the certified letter was delivered, or a copy of an

unclaimed certified letter from the Postal Service. Accordingly, pursuant to R. 4:4-7, in lieu of

the original return receipt card I have attached a copy of the original return receipt card as

Exhibit B.

       I hereby certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements made by me are willfully false, I am subject to punishment.


Dated: May 19, 2022                                    ___________________
                                                        Jonathan I. Nirenberg




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                                                      AFFIDAVIT OF NON-SERVICE

 Case:
 BERL 2246 22
                      I   Court:
                          SUPERIOR COURT OF NEW JERSEY
                                                                      County:
                                                                      BERGEN
                                                                                              I Job:
                                                                                                6985600(20220421153152)
Plaintiff/ Petitioner:                                                Defendant I Respondent:
JANICE MCCARTHY                                                       MUSCLEPHARM CORPORATION, ET AL
 Received by:                                                         For:
 KS Process Service and Courier, inc.                                 Guaranteed Subpoena Service, Inc.
 To be served upon:
 SABINA RIZVI


I, Kurt Schedler, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name/ Address:       SABINA RIZVI, 2800 Chapman Rd, Plano, TX 75093
Manner of Service:             Unsuccessful Attempt
Documents:                     SUMMONS AND COMPLAINT, CIS, CERTIFICATION

Additional Comments:
1) Unsuccessful Attempt: Apr 21, 2022, 7:22 pm CDT at 2800 Chapman Rd, Plano, TX 75093
WAITED 15 MINUTES BEFORE GETTING INTO GATED COMMUNITY. NO ANSWER AT THE DOOR. I LEFT A DELIVERY NOTICE. CAD SEARCH
SHOWS DEFENDANT HOMESTEADS AT THIS ADDRESS.

2) Unsuccessful Attempt: Apr 22, 2022, 7:34 am CDT at 2800 Chapman Rd, Plano, TX 75093
GATED COMMUNITY. NO ACCESS. WAITED 20 MINUTES.

3) Unsuccessful Attempt: Apr 23, 2022, 8:25 pm CDT at 2800 Chapman Rd, Plano, TX 75093
NO ACCESS. GATED NEIGHBORHOOD . WAITED 20 MINUTES .


                                                                        Subscribed and sworn to before me by the affiant who is
                                                                        personally known to me.
             ~ 5 ,:,,L,_f_ ~                4-25-2022
Kurt Schedler                               Date
PSC1098                                                                  Notary Public


KS Process Service and Courier, inc.
                                                                              'I ·:)5 -"),:/).. )..._                     9-15 - ;i_&')...3
                                                                         Date                           Commission Expires
2221 Justin Road 119-328
Flower Mound, TX 75028




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                                                                     ./6.······.~<,,::--,_ Notary Public, State o exa
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                                                                     -rs:a·-~-"> ....
                                                                                        C0 mm . Expires 09-15-2023
                                                                     ~~~· 0;,·4~          Notary ID 12874027-3
                                                                         ''11111''
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